






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00068-CV







In re Basil Brown








ORIGINAL PROCEEDING FROM TRAVIS COUNTY






M E M O R A N D U M   O P I N I O N



	Relator Basil Brown files his petition for writ of mandamus and motion for temporary
relief.  See Tex. R. App. P. 52.8, 52.10.  We deny the petition for writ of mandamus and overrule
the motion for temporary relief.



						____________________________________

						David Puryear, Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Filed:   February 11, 2005


